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     Attorney for Defendant
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8
                            IN THE UNITED STATED DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        )   Case No.: 1:09-cr-00298 OWW
12                                                    )
                    Plaintiff,                        )
13                                                    )   STIPULATION TO CONTINUE DATE FOR
             vs.                                      )   SENTENCING; ORDER
14                                                    )
     DONALD MONACO,                                   )   DATE: June 20, 2011
15                                                    )   TIME: 9:00 AM
                    Defendant.                        )   Honorable Oliver W. Wanger
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             It is hereby stipulated between the parties that the sentencing hearing in this matter be
18
     continued from June 20, 2011 at 9:00 am to July 11, 2011 at 9:00 am. The reason for the
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     continuance is that counsel for the defendant is still engaged in trial in Fresno County Superior
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     Court in the case of People v. Antonio Salas, a case involving two counts of first degree murder
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     with special circumstances. As of the date of this stipulation, the case has not yet gone to the
22
     jury.
23
     Dated: June 15, 2011                                   /s/Carl M. Faller
24
                                                            CARL M. FALLER
25                                                          Attorney for Defendant

26                                                          BENJAMIN B. WAGNER
27

28
                                                     By /s/Kimerly Sanchez
                                                           KIMBERLY SANCHEZ
              Case 1:09-cr-00298-AWI Document 132 Filed 06/16/11 Page 2 of 3


                                                         Assistant U. S. Attorney
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2    ORDER:
3           IT IS ORDERED that defendant’s sentencing hearing currently set for June 20, 2011 at
4    9:00 am., be continued until July 11, 2011 at 9:00 am.
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            Case 1:09-cr-00298-AWI Document 132 Filed 06/16/11 Page 3 of 3



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     IT IS SO ORDERED.
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4      Dated:   June 15, 2011                                    /s/ Oliver W. Wanger
                                                    UNITED STATES DISTRICT JUDGE
                                           DEAC_Signature-END:




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                                           emm0d64h
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